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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW HAMPSHIRE

In re:                                                                Bk No. 99-11087-MAF
                                                                      Chapter 11

         Shepherds Hill Development Co., LLC
                                    Debtor
                                                                      Adv. No. 22-01013-MAF

         First American Title Insurance Company
                                      Plaintiff


                       v.

         Shepherds Hill Development Co., LLC
                                    Defendant


                            NOTICE OF TELEPHONIC HEARING


Pursuant to the Court’s Fifteenth General Order dated February 22, 2022 (which can be found on
the Court’s website at www.nhb.uscourts.gov), the hearing scheduled for August 9, 2022 at
10:00 a.m. in the above referenced case will be telephonic.

Attorneys wishing to participate in or listen to the hearing shall utilize the services of CourtCall.
All others, including pro se parties, interested in participating in or listening to the hearing must
contact the courtroom deputy not later than three business days prior to the hearing at
603-222-2644 to receive instructions on how to do so.



                                                              Bonnie L. McAlary
                                                              Clerk of Court


Date: July 25, 2022                                           By: /s/ Thomas Hilton
                                                              Deputy Clerk
                                                              U.S. Bankruptcy Court
                                                              55 Pleasant Street, Room 200
                                                              Concord, NH 03301
